Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 1 of 76

INVOICE
gorge é
S © aay 2 Bon From — Texas Appleseed
Ge o> | 1609 Shoal Creek Blvd
5 £36—ps & _ Ste 201
ar e—s° | Austin, TX 78701
ll | HI il
Texas
APPLESEED
Invoice ID 5 Invoice For Texas DFPS/HHSC
Issue Date 01/08/2020
Due Date 01/03/2020 (upon receipt)
Subject Texas Appleseed Monitoring Team; December
2019
item Type Description Quantity | Unit Price Amount
Service Texas Foster Care Monitoring (12/01/2019 - 12/81/2019) 625.86 $358.85 $224,586.90
Product Expenses for Texas Foster Care Monitoring (12/01/2019 - 1.00 $1,763.88 $1,763.88
12/31/2019)
Amount Due $226,350.78
Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies! websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.

Page 1 of 1
Case 2:11-cv-00084 Document 828

Filed on 02/28/20 in TXSD_ Page 2 of 76

Arrigona

Page 1 of 10

Gh™R® 3
ae ey Se From Texas Appleseed
2 ep 1609 Shoal Creek Bivd
o ob ie,
& eas 2 Ste 201
& "ea \lie=e° Austin, TX 78701
nT
WN) NEE UH
‘Texas
APPLESEED
Invoice [D 5 invoice For . Texas DFPS/HHSC
issue Date 01/03/2020
Due Date 02/02/2020 (Net 30)
Subject | Texas Appleseed Monitoring Team; December
2019
Item Type Description Quantity Unit Price
Service Texas Foster Care Monitoring - 12/01/2019 - Document 4.50 $425.00
Review/Data Analysis/Verification Work / Deborah Fowler
Service Texas Foster Care Monitoring - 12/01/2019 - Travel / Deborah $425.00
Fowler
Service Texas Foster Care Monitoring - 12/01/2018 - Project 3.75 $425.00
Management & Planning / Deborah Fowler
Service Texas Foster Care Monitoring - 12/01/2019 - Document 1.75 $425.00
» Review/Data Analysis/Verification Work / Deborah Fowler
Service Texas Foster Care Monitoring - 12/01/2019 - Project 2.25 $385.00
Management & Planning / Linda Brooke
Service Texas Foster Care Monitoring - 12/01/2018 - Document $395.00
Review/Data Analysis/Verification Work / Linda Brooke
Service Texas Foster Care Monitoring - 12/01/2019 - Project 3.75 $325.00
Management & Planning / Nancy Arrigona
Service | Texas Foster Care Monitoring - 12/01/2019 - Document 4.75 $325.00
| Review/Data Analysis/Verification Work / Nancy Arrigona
Service Texas Foster Care Monitoring - 12/01/2019 - Travel / Nancy 1.33 $325.00

Amount

$637.50
. esosoe
$4,593.75
$743.75
"9888.75
$691.25
$4,218.75
$568.75

$432.25
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 3 of 76

Service Texas Foster Care Monitoring ~ 12/01/2019 - Project 2.00 $325.00 $650.00
_ Management & Planning / Nancy Arrigona : :

Service _ Texas Foster Care Monitoring ~ 12/01/2019 - Travel / Clarice 2.33 $325.00 $757.25
Rogers
Service _ Texas Foster Care Monitoring - 12/01/2019 - Project : 3.00 | $325.00 | $975.00
- Management & Planning / Clarice Rogers :
Service Texas Foster Care Monitoring ~- 12/01/2019 - Meetings with 3.42 $325.00 $1,111.50
agency leadership, staff, clients, conference calls, time spent :
with team, plaintiffs consultants or other providers. / Clarice
Rogers
Service Texas Foster Care Monitoring - 12/02/2019 - Document 10.00 $325.00 $3,250.00
Review/Data Analysis/Verification Work / Clarice Rogers :
Service _ Texas Foster Care Monitoring - 12/02/2019 - Document 8.58 $395.00 $3,389.10
_ Review/Data Analysis/Verification Work / Linda Brooke i i
Service | Texas Foster Care Monitoring - 12/02/2019 ~ Document 8.58 $425.00 $3,646.50
Review/Data Analysis/Verification Work / Deborah Fowler
Service _ Texas Foster Care Monitoring - 12/02/2019 - Document 9.00 $325.00 $2,925.00
| Review/Data Analysis/Verification Work / Nancy Arrigona :
Service Texas Foster Care Monitoring - 12/03/2019 - Document 41.00 $325.00 $3,575.00
| Review/Data Analysis/Verification Work / Clarice Rogers :
Service Texas Foster Care Monitoring - 12/03/2019 - Document 10.42 $395.00 $4,115.90
| Review/Data Analysis/Verification Work / Linda Brooke :
Service _ Texas Foster Care Monitoring - 12/03/2019 - Document 8.00 $425.00 $3,400.00
_ Review/Data Analysis/Verification Work / Deborah Fowler
Service ' Texas Foster Care Monitoring - 12/03/2018 - Document 1.58 | $425.00 $671.50
Review/Data Analysis/Verification Work / Deborah Fowler
Service Texas Foster Care Monitoring - 12/03/2019 - Document : 10.42 $325.00 $3,386.50
_ Review/Data Analysis/Verification Work / Nancy Arrigona i
Service | Texas Foster Care Monitoring - 12/04/2019 - Document 7.58 $395.00 $2,994.10
Review/Data Analysis/Verification Work / Linda Brooke :
Service - Texas Foster Care Monitoring ~ 12/04/2019 - Travel / Linda : 5.75 $395.00 $2,271.25
| Brooke
Service Texas Foster Care Monitoring - 12/04/2019 - Document 8.00 | $425.00 $3,400.00
Review/Data Analysis/Verification Work / Deborah Fowler :
Service Texas Foster Care Monitoring - 12/04/2019 ~ Travel / Deborah 1.50 | $425.00 $637.50

Fowler

Page 2 of 10
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 4 of 76

Service Texas Foster Care Monitoring - 12/04/2019 - Travel / Viveca 3.25 $325.00 $1,056.25
Martinez :

Service Texas Foster Care Monitoring - 12/04/2019 - Project po 7.75 $325.00 | $2,518.75
Management & Planning / Viveca Martinez

Service Texas Foster Care Monitoring - 12/04/2019 - Document

10.42 $325.00 $3,386.50
Review/Data Analysis/Verification Work / Clarice Rogers :

Service Texas Foster Care Monitoring - 12/04/2019 - Document 9.00 - $325.00 | $2,925.00

Review/Data Analysis/Verification Work / Nancy Arrigona

Service » Texas Foster Care Monitoring - 12/04/2019 ~ Travel / Nancy 1.75 | $325.00 | $568.75
' Arrigona :

Service _ Texas Foster Care Monitoring - 12/05/2019 - Document

$395.00 | $1,745.90
Review/Data Analysis/Verification Work / Linda Brooke :

Service Texas Foster Care Monitoring - 12/05/2019 - Project 4.67 $395.00 $1,844.65

Management & Planning / Linda Brooke
Service Texas Foster Care Monitoring - 12/05/2018 - Travel / Deborah 4.50. $425.00 $637.50
Fowler : :

Service Texas Foster Care Monitoring - 12/05/2019 - Document 7.00 $425.00 $2,975.00
Review/Data Analysis/Verification Work / Deborah Fowler : :

Service ' Texas Foster Care Monitoring - 12/05/2019 - Document 3.00 | $425.00 $14,275.00

Review/Data Analysis/Verification Work / Deborah Fowler

Service Texas Foster Care Monitoring - 12/05/2019 - Project 10.25 $325.00 ° $3,331.25
> Management & Planning / Viveca Martinez : : :

Service Texas Foster Care Monitoring - 12/05/2019 - Travel /Viveca 2.75 $325.00 $893.75
: Martinez : : :

Service Texas Foster Care Monitoring - 12/05/2019 - Document 13.42 $325.00 $4,361.50
» Review/Data Analysis/Verification Work / Clarice Rogers : : :

Service Texas Foster Care Monitoring - 12/05/2019 - Travel / Nancy : 225 | $325.00 $731.25
 Artigona

Service - Texas Foster Care Monitoring - 12/05/2019 - Document 10.50 © $325.00 $3,412.50
Review/Data Analysis/Verification Work / Nancy Arrigona

Service » Texas Foster Care Monitoring - 12/06/2019 - Project : 4.50 $325.00 | $1,462.50
Management & Planning / Viveca Martinez

Service Texas Foster Care Monitoring - 12/06/2019 - Meetings with : 0.75 | $425.00 © $318.75
agency leadership, staff, clients, conference calls, time spent : :

with team, plaintiffs consultants or other providers. / Deborah
Fowler

Page 3 of 10
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 5 of 76

Service Texas Foster Care Monitoring - 12/06/2019 - Document 0.75 $425.00 $318.75
Review/Data Analysis/Verification Work / Deborah Fowler
Service | Texas Foster Care Monitoring - 12/06/2019 - Document 4,00 $325.00 $1,300.00
Review/Data Analysis/Verification Work / Nancy Arrigona
Service : Texas Foster Care Monitoring - 12/06/2019 - Project 3.25 $325.00 $1,056.25
» Management & Planning / Nancy Arrigona
Service Texas Foster Care Monitoring - 12/07/2019 - Meetings with 0.75 $425.00 $318.75
agency leadership, staff, clients, conference calls, time spent
with team, plaintiffs consultants or other providers. / Deborah
Fowler
Service Texas Foster Care Monitoring ~ 12/07/2019 - Project 0.50 $425.00 $212.50
Management & Planning / Deborah Fowler
Service Texas Foster Care Monitoring ~ 12/08/2019 - Document 2.17 $395.00 $857.15
Review/Data Analysis/Verification Work / Linda Brooke
Service Texas Foster Gare Monitoring ~ 12/08/2019 - Project 2.00 $425.00 $850.00
Management & Planning / Deborah Fowler
Service _ Texas Foster Care Monitoring - 12/09/2019 - Meetings with 1.00 $425.00 $425.00
agency leadership, staff, clients, conference calls, time spent
with team, plaintiffs consultants or other providers. / Deborah
Fowler
Service _ Texas Foster Care Monitoring ~ 12/09/2019 - Project 1.42 $325.00 $461.50
_ Management & Planning / Clarice Rogers
Service _ Texas Foster Care Monitoring - 12/09/2019 - Project 2.00 $425.00 $850.00
Management & Planning / Deborah Fowler
Service _ Texas Foster Care Monitoring - 12/09/2019 ~ Project 8.50 $395.00 $3,357.50
' Management & Planning / Linda Brooke
Service Texas Foster Care Monitoring - 12/09/2019 - Project 7.00 $325.00 $2,275.00
Management & Planning / Nancy Arrigona
Service _ Texas Foster Care Monitoring - 12/09/2019 - Project 8.00 $325.00 $2,600.00
Management & Planning / Viveca Martinez
Service Texas Foster Care Monitoring - 12/10/2019 ~ Project 0.75 $425.00 $318.75
Management & Planning / Deborah Fowler
Service Texas Foster Care Monitoring - 12/10/2019 - Document 0.50 $425.00 $212.50
_ Review/Data Analysis/Verification Work / Deborah Fowler
Service _ Texas Foster Care Monitoring - 12/10/2019 ~- Document 0.33 $425.00 $140.25

Review/Data Analysis/Verification Work / Deborah Fowler

Page 4 of 10
Service

Service

Service

Service

Service

Service

Service

Service

Service

Service

Service

Service

Service

Service

Service

Service

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 6 of 76

Texas Foster Care Monitoring » 12/10/2018 = Meetings with

with team, plaintiffs consultants or other providers. / Deborah
Fowler

Texas Foster Care Monitoring - 12/10/2019 - Meetings with
agency leadership, staff, clients, conference calls, time spent
with tearn, plaintiffs consultants or other providers. / Deborah
Fowler

Texas Foster Care Monitoring - 12/10/2019 - Project
Management & Planning / Linda Brooke

Texas Foster Care Monitoring - 12/10/2019 - Document
Review/Data Analysis/Verification Work / Nancy Arrigona

Texas Foster Care Monitoring - 12/10/2018 - Document
Review/Data Analysis/Verification Work / Clarice Rogers

Texas Foster Care Monitoring - 12/10/2019 - Project

: Management & Planning / Viveca Martinez

Texas Foster Care Monitoring - 12/11/2019 - Project

| Management & Planning / Clarice Rogers
Texas Foster Care Monitoring - 12/11/2018 - Project
Management & Planning / Linda Brooke
Texas Foster Care Monitoring - 12/11/2019 ~ Project
Management & Planning / Deborah Fowler

Texas Foster Care Monitoring - 12/11/2019 ~ Project
Management & Planning / Deborah Fowler

Texas Foster Care Monitoring - 12/11/2019 ~ Project
| Management & Planning / Deborah Fowler

Texas Foster Care Monitoring - 12/11/2019 - Document
Review/Data Analysis/Verification Work / Nancy Arrigona

Texas Foster Care Monitoring - 12/11/2019 - Project
Management & Planning / Viveca Martinez

Texas Foster Care Monitoring - 12/12/2019 - Project
Management & Planning / Deborah Fowler

Texas Foster Care Monitoring - 12/12/2019 ~ Project
Management & Planning / Linda Brooke

Texas Foster Care Monitoring - 12/12/2019 - Document
Review/Data Analysis/Verification Work / Clarice Rogers

Page 5 of 10

agency leadership; staff, clients, conference calls; time spent :

0.67 $425.00

0.43 | $425.00
840°... $395.00

8.50 $325.00

$325.00
ao) asa |
8.00 $395.00
so panne
sa bene
tel asa
5.50 $325.00
sol ton
lo sno

8.75 : : $395.00

7.83 $325.00

$325.00

$284.75

$140.25

$3,318.00

$2,762.50

$1,569.75

$2,600.00

$1,950.00

$850.00
$212.50

$637.50

$1,787.50

$2,600.00

$425.00

$3,456.25

$2,544.75
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 7 of 76

Service Texas Foster Care Monitoring - 12/12/2019 - Document 3.42 — $325.00 | $1,111.50
_ Review/Data Analysis/Verification Work / Clarice Rogers i i

Service _ Texas Foster Care Monitoring - 12/12/2019 - Document 1,00 $325.00 | $325.00
: Review/Data Analysis/Verification Work / Nancy Arrigona i :

Service Texas Foster Care Monitoring - 12/12/2019 ~ Project 8.00 $325.00 $2,600.00
_ Management & Planning / Viveca Martinez :

Service ' Texas Foster Care Monitoring - 12/13/2019 - Project 7.33 $395.00 $2,895.35
» Management & Planning / Linda Brooke

Service Texas Foster Care Monitoring - 12/13/2019 - Meetings with 0.72 $425.00 | $306.00
agency leadership, staff, clients, conference calls, time spent : : i

with team, plaintiffs consultants or other providers. / Deborah

Fowler

Service Texas Foster Care Monitoring ~ 12/13/2019 - Document 4.00 $325.00 © $1,300.00
Review/Data Analysis/Verification Work / Nancy Arrigona :

Service Texas Foster Care Monitoring - 12/13/2019 - Project 8.00 $325.00 _ $2,600.00
. ‘Management & Planning / Viveca Martinez :

Service | Texas Foster Care Monitoring - 12/14/2019 - Project 7.00 $425.00 — $2,975.00
_ Management & Planning / Deborah Fowler :

Service Texas Foster Care Monitoring - 12/14/2019 - Project 3.50 $395.00 $1,382.50
Management & Planning / Linda Brooke : =: :

Service Texas Foster Care Monitoring - 12/14/2019 - Document 5.50 $325.00 : $1,787.50
Review/Data Analysis/Verification Work / Nancy Arrigona :

Service Texas Foster Care Monitoring - 12/15/2019 - Project 2.00 $425.00 | $850.00
Management & Planning / Deborah Fowler :

Service | Texas Foster Care Monitoring - 12/15/2019 ~ Project 0.33 $425.00 $140.25
Management & Planning / Deborah Fowler

Service Texas Foster Care Monitoring - 12/15/2019 ~ Meetings with : 0.25 $425.00 $106.25
agency leadership, staff, clients, conference calls, time spent :

with team, plaintiffs consultants or other providers. / Deborah

Fowler

Service Texas Foster Care Monitoring - 12/15/2019 - Document 3.25 $325.00 $1,056.25
Review/Data Analysis/Verification Work / Nancy Arrigona

Service _ Texas Foster Care Monitoring - 12/15/2019 - Document 4.00 $325.00 $1,300.00
_ Review/Data Analysis/Verification Work / Clarice Rogers : :

Service ' Texas Foster Care Monitoring - 12/16/2019 - Project 8.50 : $395.00 $3,357.50
» Management & Planning / Linda Brooke i

Page 6 of 10
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 8 of 76

Service’. Texas Foster Care Monitoring «12/16/2019 - Document 450 $325.00 $1,462.50
Review/Data Analysis/Verification Work / Clarice Rogers DUET EE a ne cen es

Service Texas Foster Care Monitoring - 12/16/2019 - Document 8.00 | $325.00 $2,925.00
Review/Data Analysis/Verification Work / Nancy Arrigona :
Service” ~~ Texas Foster Care Monitoring - 12/16/2019 - Project 400° $425.00 $1,700.00
‘ | Management & Planning / Deborah Fowler : . OO, :
Service Texas Foster Care Monitoring - 12/16/2019 - Project 7.00 | $325.00 $2,275.00
: Management & Planning / Viveca Martinez : i
Service Texas Foster Care Monitoring - 12/17/2019 - Project ° - 7.750 $395.00 $3,061.25
- Management & Planning / Linda Brooke pe
Service . Texas Foster Care Monitoring - 12/17/2019 - Document 10.50 $325.00 $3,412.50
- Review/Data Analysis/Verification Work / Nancy Arrigona : :
Service Texas Foster Care Monitoring - 12/17/2019 - Project 4.50 $425.00 | $637.50
_ Management & Planning / Deborah Fowler
Service Texas Foster Care Monitoring - 12/17/2019 ~ Project : 9,50 ; $325.00 $3,087.50
Management & Planning / Viveca Martinez : i
Service : Texas Foster Care Monitoring - 12/18/2019 - Meetings with : 2,00 | $395.00 $790.00
agency leadership, staff, clients, conference calls, time spent : :
: with team, plaintiffs consultants or other providers. / Linda
Brooke
Service Texas Foster Care Monitoring - 12/18/2019 - Project : 6.00 : $325.00 $1,950.00
Management & Planning / Clarice Rogers : :
Service Texas Foster Care Monitoring - 12/18/2019 - Project §.50 . $395.00 $2,172.50
Management & Planning / Linda Brooke : : :
Service Texas Foster Care Monitoring - 12/18/2019 - Document 7.50 $325.00 $2,437.50
Review/Data Analysis/Verification Work / Nancy Arrigona
Service Texas Foster Care Monitoring - 12/18/2019 - Meetings with $425.00 | $850.00
» agency leadership, staff, clients, conference calls, time spent , i
with team, plaintiffs consultants or other providers. / Deborah
Fowler
Service Texas Foster Care Monitoring ~ 12/18/2019 - Project : 3.50 $425.00 $1,487.50
: Management & Planning / Deborah Fowler :
Service Texas Foster Care Monitoring - 12/18/2019 - Project 4.00 $425.00 $425.00
- Management & Planning / Deborah Fowler
Service "Texas Foster Care Monitoring - 12/18/2019 - Project 0.50 $425.00 $212.50

Management & Planning / Deborah Fowler

Page 7 of 10
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 9 of 76

. Texas Foster Care Monitoring - 12/18/2019 - Communication

Service 2.00 $325.00 $650.00
or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
Viveca Martinez
Service | Texas Foster Care Monitoring - 12/18/2019 - Project 6.00 $325.00 $1,950.00
Management & Planning / Viveca Martinez
Service Texas Foster Care Monitoring - 12/19/2019 - Project 9.00 $395.00 $3,555.00
Management & Planning / Linda Brooke
Service Texas Foster Care Monitoring - 12/19/2019 - Document 7.50 $325.00 $2,437.50
Review/Data Analysis/Verification Work / Clarice Rogers
Service Texas Foster Care Monitoring - 12/19/2019 ~ Document 8.25 $325.00 $2,681.25
Review/Data Analysis/Verification Work / Nancy Arrigona
Service Texas Foster Care Monitoring - 12/19/2019 - Meetings with 1.00 $425.00 $425.00
agency jeadership, staff, clients, conference calls, time spent
with team, plaintiffs consultants or other providers. / Deborah
Fowler
Service | Texas Foster Care Monitoring - 12/19/2019 - Project 1.00 $425.00 $425.00
_ Management & Planning / Deborah Fowler
Service Texas Foster Care Monitoring - 12/19/2019 ~ Project 2.50 $425.00 $1,062.50
Management & Planning / Deborah Fowler
Service | Texas Foster Care Monitoring - 12/19/2019 - Project 3.00 $425.00 $1,275.00
Management & Planning / Deborah Fowler
Service : Texas Foster Care Monitoring - 12/19/2019 - Communication 8.00 $325.00 $2,600.00
' of Meeting with the Court, a Party, Monitor/Monitors’ Staff /
Viveca Martinez
Service Texas Foster Care Monitoring ~ 12/20/2019 - Project 10.50 $395.00 $4,147.50
_ Management & Planning / Linda Brooke
Service | Texas Foster Care Monitoring - 12/20/2019 - Project 7.00 $325.00 $2,275.00
Management & Planning / Clarice Rogers
Service Texas Foster Care Monitoring - 12/20/2019 - Document 7.50 $325.00 $2,437.50
Review/Data Analysis/Verification Work / Nancy Arrigona
Service Texas Foster Care Monitoring - 12/20/2019 - Project 4.00 $425.00 $425.00
Management & Planning / Deborah Fowler
Service _ Texas Foster Care Monitoring - 12/20/2019 - Project 2.00 $425.00 $850.00
Management & Planning / Deborah Fowler
Service _ Texas Foster Care Monitoring - 12/20/2019 - Project 0.33 $425.00 $140.25

Management & Planning / Deborah Fowler

Page 8 of 10
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 10 of 76

Service’ Texas Foster Gare Monitoring * 12/20/2019 - Project °° 29 BO $425.00 | > 84,062.50 -
"| Management & Planning / Deborah Fowler’ wd ee Cerys as ”

Service | Texas Foster Gare Monitoring - 12/20/2018 ~ Project

4.00 $425.00 $425.00
Management & Planning / Deborah Fowler

Service Texas Foster Care Monitoring ~ 12/20/2019 ~ Communication _ $325.00. $2,600.00
wees | or Meeting with the Court, a Party, Monitor/Monitors’ Staff / SB pe

Viveca Martinez

Service Texas Foster Care Monitoring - 12/22/2019 ~ Project

4.00 | $325.00 _ $1,300.00
Management & Planning / Clarice Rogers ;

Service. Texas Foster Care Monitoring - 12/23/2019 - Project 250° °° $425.00. $1,062.50

Management & Planning / Deborah Fowler

Service Texas Foster Care Monitoring - 12/23/2019 - Communication 4.00; $325.00 | $1,300.00
or Meeting with the Court, a Party, Monitor/Monitors’ Staff / :
Clarice Rogers

Service . Texas Foster Care Monitoring - 12/25/2019 ~ Project : 2.00 $425.00 $850.00
Management & Planning / Deborah Fowler : i

Service Texas Faster Care Monitoring - 12/26/2019 - Project 2.00 | $425.00 - $850.00
Management & Planning / Deborah Fowler : :

Service Texas Foster Care Monitoring - 12/27/2019 - Project 1.00 $425.00 | $425.00
_ Management & Planning / Deborah Fowler :

Service : Texas Foster Care Monitoring - 12/30/2019 - Project 5.00 $395.00 $1,975.00

Management & Planning / Linda Brooke :

Service : Texas Foster Care Monitoring - 12/30/2019 - Communication 0.50 $425.00 | $212.50
or Meeting with the Court, a Party, Monitor/Monitors’ Staff / :
Deborah Fowler

Service : Texas Foster Gare Monitoring - 12/30/2019 - Project : 1.00 | $425.00 | $425.00
: Management & Planning / Deborah Fowler i

Service Texas Foster Gare Monitoring - 12/30/2019 - Project 8.00 | $325.00 $2,600.00
_ Management & Planning / Viveca Martinez : :

Service Texas Foster Care Monitoring - 12/31/2019 - Project 1.50 $425.00 $637.50

Management & Planning / Deborah Fowler

Service Texas Foster Care Monitoring - 12/31/2019 - Project 4.50 | $395.00 $1,777.50
| Managément & Planning / Linda Brooke :

Service "Texas Foster Care Monitoring - 12/31/2019 - Project 3,00 $325.00 $975.00
' Management & Planning / Viveca Martinez :

Page 9 of 10
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 11 of 76

Product "Texas Foster Care Monitoring - 12/01/2019 - Lodging /Linda 1.00 | $441.81 $441.81
Brooke: Dec 1-4, 2019 ~ Residence Inn - Linda Brooke (Rm :
221) $441.81

Product _ Texas Foster Care Monitoring - 12/01/2019 - Lodging / 1.00 $449.81 $449.81
_ Deborah Fowler: Dec 1-4, 2019 - Residence Inn -Deborah i
Fowler (Rm 219) $449.81

Product _ Texas Foster Care Monitoring - 12/01/2019 - Lodging/Nancy 4.00 — $444.81 $444.81
Arrigona: Dec 1-4, 2019 - Residence Inn - Nancy Arrigona
$444.84

Product _ Texas Foster Care Monitoring - 12/01/2019 - Mileage / 72.30 $0.58 $41.93

Deborah Fowler: Austin - San Antonio

Product Texas Foster Care Monitoring - 12/02/2019 - Meals / Deborah 1.00 $71.60 $71.60
Fowler: Dec 1, 2019 - ALAMO Cafe - Deborah Fowler $71.60 :

Product _ Texas Foster Care Monitoring ~ 12/03/2019 - Meals / Deborah 1.00 $77.41 | $77.41
Fowler: Dinner for tearn :

Product Texas Foster Care Monitoring - 12/04/2019 - Meals / Linda : 1.00 $10.93 $10.93
Brooke: Dec 4, 2019 - Starbucks - Linda Brooke $10.93 : :

Product _ Texas Foster Care Monitoring - 12/04/2019 - Meals / Nancy 1.00 $11.97 $11.97
| Arrigona: Dec 4, 2019 - Buc-EE's - Nancy Arrigona $11.97

Product _ Texas Foster Care Monitoring - 12/04/2019 - Mileage / 72.30 $0.58 $41.93
Deborah Fowler: San Antonio - Austin : :

Product Texas Foster Care Monitoring ~ 12/04/2019 - Mileage / Viveca 148.00 $0.58 $85.84
' Martinez: Austin - San Antonio Round trip i : :

Product _ Texas Foster Care Monitoring - 12/05/2019 - Mileage /Viveca 148.00 : $0.58 $85.84

Martinez: Austin ~ San Antonio Round Trip

Amount Due $226,350.78

Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.

Page 10 of 10
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 12 of 76

Expense Report for Invoice Texas Appleseed
12/01/2019 $441.81
Client Texas DFPS/HHSC
Project Texas Foster Gare Monitoring
Category Lodging
Person Linda Brooke
Fiasidence inn ~ Linde RraaKe (Am 221

Page 1 of 15
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 13 of 76

Residence IN,

BY MARRIOTT

Residence Inn® San Antonio North Stone Oak
1115 North LOOP 1604 EAST, San Antonio, TX 78232 P 210.490.1333
Marrioti. com/SATMR

“LindalMs Brooke”

2625 Ryan Place Dr Rom Types STKT.
Fort Worth TX 76110-3124 Number of Guests: To oe
“Federal Judge (0000 oo Ss Rates $127.00 9 9 Clerk ARC
Arrive: O1Deo19 © =~ Time: 07:27PM Depart: 04Dec19 "Time: 07:55AM ©. Folio Number: 69497

DATE DESCRIPTION CHARGES CREDITS

01Dec19 Room Charge 127.00

01Dec19 State Occupancy Tax 762

01Dec19 City Tax 11.43

01Dec19 County Tax 2.22

02Dec19 Room Charge 127.00

02Dec19 State Occupancy Tax 7.62

02Dec19 City Tax 1143

02Dec19 County Tax 2.22

03Deci9 Room Charge 127.00

03Deci9 State Occupancy Tax 72

O03Deci9 City Tax 41.43

O3Dect9 County Tax 220

04Dect9 Visa 444.84

Card # VIXKXOOOKXIOCKKX 08 OFX
Amount: 444.81 Auth: 05808G Signature on File
This card was electronically swiped on 01Dec19

BALANCE: 0.00

Marriott Banvoy Account # XXXXX9271. Your Marriott Bonvoy points/miles earned on your eligible earnings will be credited te your account.
Check your Marriott Bonvoy account statement or your online statement for updated activity.

See our "Privacy & Cookie Statement” on Marriott.com.

Operated under license from Mariott Intemational, Inc. or one of its affiliates.

To plan your next stay, visit Residencelnn.com.

Page 2 of 15
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 14 of 76

12/01/2019 $449.81
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Lodging

Person Deborah Fowler

iderice Inn ~Deboran Fowler (Rim 219)

Page 3 of 15
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 15 of 76

Residence INN.

BY MARRIOTT

Residence Inn® San Antonio North Stone Oak
1115 North LOOP 1604 EAST, San Antonio, TX 78232 P 210.490.1333
Marrioti.com/SATMR

LindalMs Brooke oom: 219

2625 Ryan Place Dr orm Type: STKT
Fort Worth TX 76110-3124 cess Number of Guests! 1 8
Judge Tu nen et eS Ce Rate? $127,000 Clerks ARC
Arrive: O1Dect9 Time: 07:49PM Depark 04Dect9 Time: 08:42AM “Folio Number: 69496

DATE DESCRIPTION CHARGES CREDITS

01Dec19 Room Charge 127.00

01Dec19 State Occupancy Tax 78

01Dec19 City Tax 11.43

01Dec19 County Tax 2.22

02Dec19 Room Charge 127.00

02Dec19 State Occupancy Tax : 7.62

02Dec19 City Tax 41.43

02Dec19 County Tax 22

03Dec19 Room Charge 127.00

O3Deci9 State Occupancy Tax 7.62

03Dec19 City Tax 4143

03Dec19 County Tax 2.22

04Dec19 Market Beverage 462

04Dec19 Sales Tax 0.38

04Dec19 Visa 449.81

Card #: VIXXXXOOOOXXOON2E S4IKXKX
Amount: 449.81 Auth: 038296 Signature on File
This card was electronically swiped on 01Dec19

“BALANCE: . 0.66

Marriott Bonvoy Account # XXXXX9271. Your Marriott Bonvoy points/miles earned on your eligible earnings will be credited to your account.
Check your Marriott Bonvoy account statement or your online statement for updated activity.

See our Privacy & Cookie Statement" on Martiott.com.

Operated under license from Marriott intemational, Inc. or one of its affillates.

To plan your next stay, vist Residenceinn.com.

Page 4 of 15
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 16 of 76

12/01/2019 $444.81
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Lodging

Person Nancy Arrigona

Dec 1-4, 2019 - Residence Inn - Nancy Arrigona $444.81

Page 5 of 15
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 17 of 76

Residence IN.

Residence Inn® San Antonio North Stone Oak

BY MARRIOTT

1115 North LOOP 1604 EAST, San Antonio, TX 78232 P 210.490.1333

Marriott.com/SATMR

Naricy Artigona
7701 Long Point Dr: :

“Austin TX 78731-1218

“Room ‘Type: ONBT

Number of Guests: 1 ©

Judge 2020s “Rate: $127.00 600.0090 Clerk: LDH
Arrive: 01Dée19 “2S Time: 07:51PM “. Depart: 04Dect9 oo Time: 1243PM oo 2s Folio Number 69533 -
DATE DESCRIPTION CHARGES CREDITS
01Dect Room Charge 127.00
01Deci9 State Occupancy Tax 7.2
01Dec13 City Tax 14.43
01Dec19 County Tax 2.22
02Dec19 Room Charge 127.00
02Dec19 State Occupancy Tax 7.62
02Dec19 City Tax 11.43
02Dec19 County Tax 2.22
03Dec19 Room Charge 127.00
03Deci19 State Occupancy Tax 7.62
03Dec19 City Tax 11.43
03Deci9 County Tax 2.22
04Dec19 Visa 444.81

Card #: VDOOCOOOOOKXKX 4002 DOXOXKX

Amount: 444.81 Auth: 03013D Signature on File

This card was electronically swiped on 07Dec19

BALANCE: 0.00

Marriott Bonvoy Account # XXXXX8906. Your Marriott Bonvoy points/miles earned on your eligible earnings will be credited to your account.
Check your Marriott Bonvoy account statement or your online statement for updated activity.

See our "Privacy & Cookie Statement™ on Mariott.com.

Operated under license from Mamiott intemational, Inc. or one of its affiliates.

To plan your next stay, visit Residencelnn.com.

Page 6 of 15
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD

12/01/2019 $41.93
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Mileage

Person Deborah Fowler

Austin - San Antonio [72.3 miles!

12/02/2019 $71.60
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Meals

Person Deborah Fowler

Page 7 of 15

Page 18 of 76
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 19 of 76

Tons

aSeiteert

Corina Golea <cgolea@texasappleseed.net>

Fwd: Receipt

1 message

Deborah Fowler <dfowler@texasappleseed.net>
To: Corina Golea <cgolea@texasappleseed.net>

Dinner for foster care team - needs to be uploaded to Harvest for December

Deborah Fowler

Executive Director

Texas Appleseed

1609 Shoal Creek Bivd., Ste. 204
Austin, TX 78701

512.473.2800, ext. 105
§12.757.1458 (cell)

www. texasappleseed.org

—.— Forwarded Message «~~
From: Alamo Cafe <receipt@ziosk.com>
Date: Sun, Dec 1, 2019 at 9:25 PM
Subject Receipt

To: <dfowler@texasappleseed.net>

Sun, Dec 1, 2019 at 10:03 PM

ALAMO CAFE
Hwy 281
San Antonio, TX
(210) 495-2233

Check No: 40259

Table No: 401

Date: 12/01/2019 09:25 PM
Server: KATHLEEN H

VISA CREDIT/2434 Auth/Chip Read TID:0001 RRN:609381 AID:A 0000000031010
TVR:8000008000 IAD:12CC398B2523C56C3030 TSI:6800 ARC:00 TRN
SEQ:00004273 TRN 1D:1120609381 NET: Visa MODE:Issuer Auth Code:03430G

tien ony Price

Page 8 of 15
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 20 of 76

Water/No Bev 1.00 0.00
Waiter/No Bev 1.00 0.00
Water/No Bev 1.00 0.00
Coffee 4.00 4.99
Coke 4.00 2.59
Reg Queso 4.00 7.69
Regular Soup 4.00 7.29
Small Soup 1.00 5.49
Smail Bow! Guac 1.60 6.69
Beef Fajita Dinner 1.00 11.69
Chicken Fajita Din 1.00 11.69
Sub Total 55.12

Tax 4.55

Total 59.67

Tips 11.93

Amount Paid 71.60

Thank You and Come Again!

Visit us at www.alamocafe.com
Now hiring all pestions!
Apply today

Page 9 of 15
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 21 of 76

12/03/2019 $77.41
Client Texas DFPS/HHSC

Project Texas Foster Gare Monitoring

Category Meals

Person Deborah Fowler

Dinner for team

12/04/2019 $10.93
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Meals

Person Linda Brooke

Dec 4, 2019 ~ Starbucks - Linda Brooke $10.93

27 Starrbucks
Hyatt Austin
TX

Page 10 of 15

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 22 of 76

Hyatt-Pas

208 Barton Springs R, Austin, TX
78704

912-477-1234
SERVER 1125 R
TYPE PRE AUTH

ACCOUNT TYPE Visa
CARD NUMBER KKKKKAAKEAKKEOBOT

DATE/TIME 12/04/2019 16:33
REC # 130705
INV/CHK # 4631

REFERENCE # ¥R0533139789
SEQUENCE # 000735
AUTH, #€ . O5811G..
ENTRY METHOD CHIP

AMOUNT $10.93
TOTAL $10.93
TIP: Wee
TOTAL: uuu
APPROVED - THANK YOU
BROOKE/LINDA

MODE Issuer

APP VISA CREDIT
ALD A0000000031010
TYR 8080008000

TSI 6800

Page 11 of 15
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 23 of 76
ARL UU
TMPORTANT -- retain this copy
for your records.
CUSTOMER COPY

Page 12 of 15

Case 2:11-cv-00084 Document 828

12/04/2019 $11.97
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Meals

Person Nancy Arrigona

Filed on 02/28/20 in TXSD_ Page 24 of 76

Page 13 of 15
of 76
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 25

BUC-EE'S iL
2760 TH 35 Nerth £ | Gy
New BraunfelsTX ‘ Leak. I.

TOPO CHICO MN HTR W/GRP ) $1.99
LY TRL GUADALAJARA Z 3; $3

LV PEAS wasaBT oo

Sub Total $15.56

Tax $0.16

Total $16.12

Visa: $16.12
Change $0.00

SALE

Yisa

Card Num > (C} x RAXXEAXMKKK 9499
Chis Read

Terminal : 10]

Approval ; 979599

. USS 16,12

CHASE VISA

AID: AdQCOSDONZ B10
TYR: GcadcasGNN

TAD: 0602120360A908
TSI: €ado

ART: OG

Te: SBEFSFES4S at orza

(379)~238-8960
POS: 33 Cashier: Team Lead
12/4/2015 18:99:93 TRAN: 76129

Page 14 of 15

Case 2:11-cv-00084 Document 828

12/04/2019 $41.93
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Mileage

Person Deborah Fowler

San Antonio - Austin [72.3 miles]

12/04/2019 $85.84
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Mileage

Person Viveca Martinez

uetin - San Antonio Round trio [148.0 miles]

42/05/2019 $85.84
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Mileage

Person Viveca Martinez

Filed on 02/28/20 in TXSD_ Page 26 of 76

Page 15 of 15
Case 2:11-cv-00084 Document 828

Filed on 02/28/20 in TXSD_ Page 27 of 76

INVOICE
geet a
e Sy Je Texas Appleseed
ow a 03
s & ee era 1609 Shoal Creek Blvd
.
© £36 —@ 4 e i Ste 201
ae | oe _ Austin, TX 78701
Wt
‘Texas
APPLESEED
Invoice iD 4 Invoice For Texas DFPS/HHSC
Issue Date 12/09/2019 .
Due Date _ 01/08/2020 (Net 30)
Subject | Texas Appleseed Monitoring Team; November
2019
Item Type : Description Quantity | Unit Price Amount
Service | Texas Foster Care Monitoring (11/01/2019 -~ 11/30/2019) 603.21 $352.41 $212,577.25
Product Expenses for Texas Foster Care Monitoring (11/01/2019 - 1.00 $2,198.76 $2,198.76
© 11/30/2019)
Amount Due $214,776.01
Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.

Page 1 of 1
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 28 of 76

From

Invoice For

5 ae
=> oe = 23
a & ao
os ™ ” #ED
& . e 5 fs) e e
St g-—a ihe 8"
i ;ARE
| AT | |
WTAE
‘Texas
APPLESEED
Invoice 1D 4
issue Date 12/09/2019
Due Date 01/08/2020 (Net 30)
Subject Texas Appleseed Monitoring Team; November
2019
ltem Type Description
Service : Texas Foster Gare Monitoring - 11/01/2019 - Report and
Document Preparation / Linda Brooke
Service Texas Foster Gare Monitoring - 11/01/2018 - Report and
Document Preparation / Clarice Rogers
Service Texas Foster Care Monitoring - 11/01/2019 - Document
| Review/Data Analysis/Verification Work / Nancy Arrigona
Service Texas Foster Care Monitoring - 11/01/2019 - Report and
- Document Preparation / Deborah Fowler
Service Texas Foster Care Monitoring - 11/01/2019 ~ Report and
> Document Preparation / Deborah Fowler
Service . Texas Foster Care Monitoring - 11/01/2019 - Project
' Management & Planning / Viveca Martinez
Service Texas Foster Care Monitoring - 11/02/2019 - Travel / Linda
Brooke
Service Texas Foster Care Monitoring - 11/02/2019 - Document
- Review/Data Analysis/Verification Work / Linda Brooke
Service Texas Foster Care Monitoring - 11/02/2019 - Travel / Clarice

Rogers

Page 1 of 12

6.00

9.00

1.00 :

1.00

1.50

9.50

3.00

0.50 |

INVOICE

Texas Appleseed
1609 Shoal Creek Blvd

Ste 204

Austin, TX 78701

Texas DFPS/HHSC

$395.00

$325.00

$325.00

$425.00

$425.00

$395.00

$395.00

$325.00

$325.00

Amount

$4,740.00

$1,950.00

$2,925.00
$425.00

$425.00

$162.50

$592.50

$3,752.50

$975.00
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 29 of 76

Service ' Texas Foster Care Monitoring - 11/02/2019 - Travel / Clarice 9.83 $325.00 $3,194.75
Rogers i :
Service _ Texas Foster Care Monitoring - 11/02/2019 - Report and 1.00 $425.00 $425.00

Document Preparation / Deborah Fowler

Service Texas Foster Care Monitoring - 11/02/2019 ~ Communication 1.00 $425.00 | $425.00
_ or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
_ Deborah Fowler

Service Texas Foster Care Monitoring - 11/03/2019 - Travel / Linda 3.25 | $395.00 | $1,283.75
| Brooke
Service Texas Foster Gare Monitoring - 11/03/2019 - Document : 6.25 $395.00 | $2,468.75

' Review/Data Analysis/Verification Work / Linda Brooke

Service Texas Foster Care Monitoring ~ 11/03/2019 ~ Travel / Clarice 2.00 $325.00 $650.00
Rogers
Service | Texas Foster Care Monitoring ~ 11/03/2019 - Travel / Clarice 6.75 $325.00 $2,193.75
_ Rogers :
Service _ Texas Foster Care Monitoring - 11/03/2019 - Travel / Clarice 2.00 $325.00 _ $650.00
| Rogers : :
Service _ Texas Foster Care Monitoring - 11/03/2019 - Travel / Clarice 1.50 $325.00 $487.50
Rogers
Service , Texas Foster Care Monitoring - 11/03/2019 - Report and 2.50 : $395.00 $987.50

Document Preparation / Linda Brooke

Service _ Texas Foster Care Monitoring - 11/03/2019 - Document 2.50 — $425.00 | $1,062.50
» Review/Data Analysis/Verification Work / Deborah Fowler :

Service Texas Foster Care Monitoring - 11/03/2019 - Project 6.25 $325.00 $2,031.25
| Management & Planning / Viveca Martinez i :

Service _ Texas Foster Care Monitoring - 11/03/2019 - Travel / Viveca 3.00 $325.00 ; $975.00
_ Martinez :

Service _ Texas Foster Care Monitoring - 11/04/2019 - Travel / Linda 1.00 | $395.00 — $395.00
| Brooke |

Service Texas Foster Care Monitoring - 11/04/2019 - Project : 6.50 $395.00 | $2,567.50

Management & Planning / Linda Brooke

Service Texas Foster Care Monitoring - 11/04/2019 - Project 3.83 $325.00 $1,244.75
Management & Planning / Clarice Rogers i

Service Texas Foster Care Monitoring - 11/04/2019 - Communication 4.00 $425.00 | $1,700.00
__ or Meeting with the Court, a Party, Monitor/Monitors’ Staff / :
Deborah Fowler

Page 2 of 12

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 30 of 76

Service ' Texas Foster Care Monitoring - 11/04/2018 - Communication
or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
Deborah Fowler
Service _ Texas Foster Care Monitoring - 11/04/2018 - Travel / Viveca
Martinez
Service Texas Foster Care Monitoring - 11/04/2019 - Project
Management & Planning / Viveca Martinez
Service Texas Foster Care Monitoring - 11/04/2019 - Travel / Nancy
Arrigona
Service : Texas Foster Care Monitoring - 11/04/2019 - Project
> Management & Planning / Nancy Arrigona
Service - Texas Foster Care Monitoring - 11/05/2019 - Judicial
' Proceeding / Linda Brooke
Service ' Texas Foster Care Monitoring - 11/05/2019 - Project
Management & Planning / Linda Brooke
Service | Texas Foster Care Monitoring - 11/05/2019 - Travel / Linda
Brooke
Service Texas Foster Gare Monitoring - 11/05/2019 - Judicial
Proceeding / Clarice Rogers
Service Texas Foster Gare Monitoring - 11/05/2019 - Confer with the
Court, a Party, Special Master or Consultants / Clarice Rogers
Service : Texas Foster Care Monitoring - 11/05/2018 - Travel / Clarice
Rogers
Service Texas Foster Care Monitoring - 11/05/2019 - Travel / Deborah
Fowler
Service Texas Foster Care Monitoring - 11/05/2019 - Communication
or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
Deborah Fowler
Service Texas Foster Care Monitoring - 11/05/2019 ~- Communication
or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
Deborah Fowler
Service - Texas Foster Care Monitoring - 11/05/2019 - Judicial
- Proceeding / Deborah Fowler
Service Texas Foster Care Monitoring - 11/05/2019 - Communication

or Meeting with the Court, a Party, Monitor/Monitors’ Staff /

Deborah Fowler

Page 3 of 12

4.00 $425.00
4:00 gap 06 -
5-08 $325.00
9.50 $325.00
5.50 $225.00
4.50 ‘¢995.00 ~
. oo “ooson
1.00 $395.00
483 “$025.00
1.83 . 9395.00 .
8.08 $325.00
3.00 “$425.00
0.89 $425.00.
. 4.00 : $425.00
4.00 $425.00

$1,700.00

$325.00

$1,625.00

$1,137.50

$1,787.50

$1,777.50

$395.00
$395.00
$1,569.75

$594.75

$975.00

$1,275.00

$352.75

$425.00

$1,700.00

$352.75
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 31 of 76

Service | Texas Foster Care Monitoring - 11/05/2018 - Travel / Viveca | 4.00 | $325.00 $1,300.00
_ Martinez

Service Texas Foster Care Monitoring ~ 11/05/2019 - Judicial 4.50 $325.00 | $1,462.50
Proceeding / Viveca Martinez

Service _ Texas Foster Care Monitoring - 11/05/2019 - Judicial 4.50 | $325.00 $1,462.50
Proceeding / Nancy Arrigona

Service _ Texas Foster Care Monitoring - 11/05/2019 - Project 1.00 $325.00 $325.00
Management & Planning / Nancy Arrigona

Service Texas Foster Care Monitoring - 11/05/2019 ~ Travel / Nancy 3.50 $325.00 $1,137.50
Arrigona i
Service _ Texas Foster Care Monitoring - 11/05/2018 - Project 4.00 $325.00 $325.00

Management & Planning / Viveca Martinez

Service _ Texas Foster Care Monitoring - 11/06/2019 - Judicial 0.25 $425.00 | $106.25
. Proceeding / Deborah Fowler : : i

Service Texas Foster Care Monitoring - 11/06/2019 - Communication 0.25 $425.00 $106.25
_ or Meeting with the Court, a Party, Monitor/Monitors’ Statf / : :
_ Deborah Fowler

Service : Texas Foster Care Monitoring - 11/06/2019 - Project 3.50 $325.00 $1,137.50

Management & Planning / Nancy Arrigona

Service Texas Foster Care Monitoring - 11/06/2019 - Project : 2.00 $395.00 — $790.00
| Management & Planning / Linda Brooke

Service Texas Foster Care Monitoring ~ 11/07/2019 - Gommunication 0.25 | $425.00 — $106.25
| or Meeting with the Court, a Party, Monitor/Monitors’ Staff / :
Deborah Fowler

Service Texas Foster Care Monitoring ~ 11/07/2019 - Communication 0.25 — $425.00 $106.25
or Meeting with the Court, a Party, Monitor/Monitors’ Staff / i
Deborah Fowler

Service Texas Foster Care Monitoring - 11/07/2019 - Communication 0.25 ! $425.00 $106.25
| or Meeting with the Court, a Party, Monitor/Monitors’ Staff / /
Deborah Fowler

Service Texas Foster Care Monitoring - 11/07/2019 - Communication 0.25 $425.00 $106.25
or Meeting with the Court, a Party, Monitor/Monitors’ Staff / :
Deborah Fowler

Service Texas Foster Care Monitoring - 11/07/2019 - Communication 0.25 $425.00 $106.25
or Meeting with the Court, a Party, Monitor/Monitors’ Staff / :
Deborah Fowler

Page 4 of 12

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 32 of 76

Service - | Texas Foster Care Monitoring - 41/07/2019 - Communication -
| or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
_ Deborah Fowler

025°» $425.00 $106.25

Service Texas Foster Care Monitoring - 11/07/2019 - Project 8.00 $395.00 $3,160.00
' Management & Planning / Linda Brooke : :

Service - ‘Texas Foster Care Monitoring - 11/07/2019 - Document $325.00 © | $1,056.25
Review/Data Analysis/Verification Work / Nancy Arrigona
Service _ Texas Foster Care Monitoring - 11/07/2018 - Project 3.50 | $325.00 — $1,137.50
» Management & Planning / Nancy Arrigona : : :
Service _ Texas Foster Care Monitoring - 11/07/2018 - Project : 5.00 | $325.00 $1,625.00
| Management & Planning / Viveca Martinez :
Service Texas Foster Care Monitoring - 11/08/2019 - Communication : 0.25 | $425.00 $106.25
or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
Deborah Fowier
Service - Texas Foster Care Monitoring - 11/08/2019 - Document 0.50 | $425.00 — $212.50
Review/Data Analysis/Verification Work / Deborah Fowler
Service _ Texas Foster Care Monitoring - 11/08/2019 - Communication — 0.75 | $425.00 - $318.75
or Meeting with the Court, a Party, Monitor/Monitors’ Staff / : :
Deborah Fowler
Service Texas Foster Care Monitoring - 11/08/2019 - Project $325.00 $487.50
| Management & Planning / Nancy Arrigona
Service : Texas Foster Care Monitoring - 11/08/2019 - Document 7.00 $325.00 $2,275.00
Review/Data Analysis/Verification Work / Nancy Arrigona : :
Service _ Texas Foster Care Monitoring - 11/08/2019 ~ Project : 5.00 $325.00 = $1,625.00
| Management & Planning / Viveca Martinez :
Service Texas Foster Care Monitoring - 11/09/2019 - Communication 0.50 $425.00 | $212.50
or Meeting with the Court, a Party, Monitor/Monitors’ Staff / :
Deborah Fowler
Service | Texas Foster Care Monitoring - 11/09/2019 - Communication 0.25 $425.00 | $106.25
or Meeting with the Court, a Party, Monitor/Monitors’ Staff / .
Deborah Fowler
Service Texas Foster Care Monitoring - 11/09/2019 - Communication 0.50 $425.00 $212.50
or Meeting with the Court, a Party, Monitor/Monitors’ Staff / .
Deborah Fowler
Service Texas Foster Care Monitoring - 11/09/2019 - Communication 0.50 | $425.00 $212.50

or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
Deborah Fowler

Page 5 of 12
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 33 of 76

Service | Texas Foster Care Monitoring - 11/11/2019 - Report and 3.00 $325.00 $975.00
_ Document Preparation / Clarice Rogers

Service Texas Foster Care Monitoring - 11/11/2019 - Project 4,00 $395.00 $1,580.00
' Management & Planning / Linda Brooke : :

Service Texas Foster Care Monitoring - 11/11/2019 - Document 4.50 $395.00 | $1,777.50
Review/Data Analysis/Verification Work / Linda Brooke |

Service Texas Foster Care Monitoring - 11/11/2019 - Communication 0.50 | $425.00 $212.50
__ or Meeting with the Court, a Party, Monitor/Monitors’ Staff / i
Deborah Fowler

Service Texas Foster Care Monitoring - 11/11/2019 - Document 2.00 | $425.00 $850.00
_ Review/Data Analysis/Verification Work / Deborah Fowler :

Service Texas Faster Gare Monitoring - 11/11/2019 - Project 2.00 $325.00 | $650.00
_ Management & Planning / Nancy Arrigona i :

Service Texas Foster Care Monitoring ~ 11/11/2019 ~ Document 6.00 $325.00 : $1,950.00

Review/Data Analysis/Verification Work / Nancy Arrigona

Service _ Texas Foster Care Monitoring - 11/11/2019 - Project

8.00 $325.00 $2,600.00
Management & Planning / Viveca Martinez

Service Texas Foster Care Monitoring - 11/42/2019 - Communication : 0.25 $425.00 $106.25
__ or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
- Deborah Fowler

Service _ Texas Foster Care Monitoring - 11/12/2019 - Communication : 0.25 $425.00 $106.25
__ or Meeting with the Court, a Party, Monitor/Monitors’ Staff / :
Deborah Fowler

Service _ Texas Foster Care Monitoring - 11/12/2019 - Document 0.25. $425.00 $106.25
Review/Data Analysis/Verification Work / Deborah Fowler :

Service Texas Foster Care Monitoring - 11/12/2019 - Communication 0.25 : $425.00 $106.25
or Meeting with the Court, a Party, Monitor/Monitors’ Staff / :
Deborah Fowler

Service Texas Foster Care Monitoring - 11/12/2019 - Document 10.06

$325.00 : $3,250.00
Review/Data Analysis/Verification Work / Nancy Arrigona :

Service _ Texas Foster Care Monitoring - 11/12/2019 - Project 1.60 $325.00 $487.50
_ Management & Planning / Nancy Arrigona :

Service Texas Foster Care Monitoring - 11/12/2019 - Document : 10.25 $395.00 | $4,048.75
_ Review/Data Analysis/Verification Work / Linda Brooke : :

Service Texas Foster Care Monitoring - 11/12/2019 - Project 11.50 $325.00 $3,737.50
| Management & Planning / Viveca Martinez : :

Page 6 of 12

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 34 of 76

Service Texas Foster Care Monitoring - 11/13/2019 - Document 12.50 $395.00 $4,937.50

Review/Data Analysis/Verification Work / Linda Brooke

Sewvice’-~=*« Texas Foster Care Monitoring = 11/13/2019 - Report and “$325.00 $1,187.50

Document Preparation / Clarice Ragers

Service Texas Foster Care Monitoring - 11/13/2019 - Report and 1.50 $325.00 $487.50
» Document Preparation / Clarice Rogers : : :

Séivice’ «Texas Foster Care Monitoring - 11/13/2018 - Project

3.00" $825.00 $975.00
Mariagement & Planning / Nancy Arrigona ve bo. oe, :

Service _ Texas Foster Care Monitoring - 11/13/2018 - Document 8.00 $325.00 | $2,600.00
Review/Data Analysis/Verification Work / Nancy Arrigona : i

Service Texas Foster Care Monitoring - 11/13/2019 - Project : 9,00 | $325.00 | $2,925.00
' Management & Planning / Viveca Martinez :

Service Texas Foster Care Monitoring - 11/13/2019 - Communication
or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
Deborah Fowler

0.58 $425.00 $246.50

Service _ Texas Foster Care Monitoring - 11/13/2019 - Communication 1.00 | $425.00 $425.00
or Meeting with the Court, a Party, Monitor/Monitors’ Staff / : : :

Deborah Fowler

Service _ Texas Foster Care Monitoring - 11/14/2018 - Project 3.00 $325.00 $975.00
' Management & Planning / Nancy Arrigona : : :
Service Texas Foster Care Monitoring - 11/14/2019 - Document 4.00 | $325.00 $1,300.00
 Review/Data Analysis/Verification Work / Nancy Arrigona : :
Service ' Texas Foster Care Monitoring - 11/14/2019 - Project 7,00 $395.00 - $2,765.00
Management & Planning / Linda Brooke :

Service | Texas Foster Care Monitoring - 11/14/2019 - Project : 8.00 | $325.00 | $2,600.00
| Management & Planning / Viveca Martinez :

Service Texas Foster Care Monitoring - 11/14/2019 - Document 0.75 $425.00 $318.75
Review/Data Analysis/Verification Work / Deborah Fowler : :

Service - Texas Foster Care Monitoring - 11/15/2019 ~ Project 2.00 | $325.00 | $650.00
Management & Planning / Nancy Arrigona :

Service - Texas Foster Care Monitoring - 11/15/2019 - Document : 2.50 | $325.00 . $812.50
Review/Data Analysis/Verification Work / Nancy Arrigona : i

Service | Texas Foster Gare Monitoring - 11/15/2019 - Project : 3.00 $395.00 $1,185.00
Management & Planning / Linda Brooke :

Service Texas Foster Care Monitoring - 11/15/2019 - Project : 8.00 $325.00 — $2,600.00
> Management & Planning / Viveca Martinez :

Page 7 of 12
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 35 of 76

Service Texas Foster Care Monitoring - 11/15/2019 - Communication 2.83 $325.00 $919.75
_ Or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
Clarice Rogers
Service Texas Foster Care Monitoring - 11/15/2018 - Document 4.00 $425.00 $425.00
Review/Data Analysis/Verification Work / Deborah Fowler
Service Texas Foster Care Monitoring - 11/16/2019 - Document 2.50 $325.00 $812.50
Review/Data Analysis/Verification Work / Nancy Arrigona
Service _ Texas Foster Care Monitoring - 11/16/2019 - Report and §,.50 $425.00 $2,337.50
Document Preparation / Deborah Fowler
Service ' Texas Foster Care Monitoring ~ 11/17/2019 - Report and 2.00 $325.00 $650.00
- Document Preparation / Clarice Rogers
Service Texas Foster Care Monitoring - 11/17/2019 - Report and 1.83 $325.00 $594.75
Document Preparation / Clarice Rogers
Service _ Texas Foster Care Monitoring - 11/17/2019 - Document 4.50 $395.00 $1,777.50
Review/Data Analysis/Verification Work / Linda Brooke
Service Texas Foster Care Monitoring - 11/17/2019 - Document 2.50 $325.00 $812.50
Review/Data Analysis/Verification Work / Nancy Arrigona
Service _ Texas Foster Care Monitoring - 11/17/2019 - Report and 5.00 $425.00 $2,125.00
» Document Preparation / Deborah Fowler
Service Texas Foster Care Monitoring - 11/47/2019 - Communication 0.50 $425.00 $212.50
or Meeting with the Court, a Party, Monitor/Monitors’ Staff /
Deborah Fowler
Service Texas Foster Care Monitoring - 11/18/2019 - Report and 2.83 $325.00 $919.75
- Document Preparation / Clarice Rogers
Service Texas Foster Care Monitoring - 11/18/2019 - Document 7.50 $325.00 $2,437.50
Review/Data Analysis/Verification Work / Clarice Rogers
Service Texas Foster Care Monitoring - 11/18/2019 - Project 2.50 $325.00 $812.50
_ Management & Planning / Nancy Arrigona
Service Texas Foster Care Monitoring - 11/18/2019 - Project §.50 $325.00 $1,787.50
| Management & Planning / Nancy Arrigona
Service Texas Foster Care Monitoring ~ 11/18/2019 - Project 4.50 $395.00 $1,777.50
Management & Planning / Linda Brooke
Service Texas Foster Care Monitoring - 11/18/2019 - Travel / Linda 4.75 $395.00 $691.25
| Brooke
Service Texas Foster Care Monitoring ~ 11/18/2019 - Judicial 2.00 $395.00 $790.00

Proceeding / Linda Brooke

Page 8 of 12

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 36 of 76

Service | Texas Foster Care Monitoring - 11/18/2019 - Project $325.00 $2,600.00
Management & Planning / Viveca Martinez

Service ‘Taxas Foster Care Monitoring - 11/18/2019 = Communication 0.33 $425.00 | "$440.25
or Meeting with the Court, a Party, Monitor/Monitors’ Staff / :

Deborah Fowler

Service Texas Foster Care Monitoring - 11/18/2019 - Judicial 0.42 $425.00 | $178.50

Proceeding / Deborah Fowler

Service Texas Foster Care Monitoring - 11/18/2019 - Project 0.25 $425.00 $106.25
| Management & Planning / Deborah Fowler : :

Service Texas Foster Care Monitoring - 11/19/2019 ~ Project : 8.00 | $395.00
» Management & Planning / Linda Brooke : :

$3,160.00

Service Texas Foster Care Monitoring - 11/19/2019 - Document 8.83 $325.00 | $2,869.75
Review/Data Analysis/Verification Work / Clarice Rogers :

Service : Texas Foster Care Monitoring - 11/19/2019 - Project : 8.00 | $325.00 $2,600.00
Management & Planning / Nancy Arrigona
Service _ Texas Foster Care Monitoring - 11/19/2019 - Project 1.00 $425.00 - $425.00
Management & Planning / Deborah Fowler =: :
Service - Texas Foster Care Monitoring - 11/19/2019 - Document : 0.50 | $425.00 — $212.50
Review/Data Analysis/Verification Work / Deborah Fowler : :
Service ' Texas Foster Care Monitoring - 11/20/2018 - Document 2.25 $325.00: $731.25
Review/Data Analysis/Verification Work / Clarice Rogers : : :
Service Texas Foster Care Monitoring - 11/20/2019 - Document 8.83 $325.00 $2,869.75
Review/Data Analysis/Verlfication Work / Clarice Rogers : i

Service - Texas Foster Care Monitoring - 11/20/2019 - Project 8.00 $395.00 $3,160.00
Management & Planning / Linda Brooke :

Service Texas Foster Care Monitoring - 11/20/2019 ~ Project 9.25 — $325.00 | $3,006.25
' Management & Planning / Nancy Arrigona :

Service Texas Foster Care Monitoring - 11/21/2019 ~ Project : 8.00 $325.00 $2,600.00
Management & Planning / Viveca Martinez :
Service Texas Foster Care Monitoring - 11/21/2019 - Communication 3.42 $325.00 | $1,111.50
: or Meeting with the Court, a Party, Monitor/Monitors' Staff / :
Clarice Rogers

Service . Texas Foster Care Monitoring - 11/21/2019 - Project : 4.00 $325.00 | $325.00
' Management & Planning / Clarice Rogers :

Service Texas Foster Care Monitoring - 11/21/2018 - Project : 7.00 $325.00 | $2,275.00
Management & Planning / Nancy Arrigona

Page 9 of 12
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 37 of 76

Service _ Texas Foster Care Monitoring - 11/21/2019 - Project 8.00 $395.00 | $3,555.00
| Management & Planning / Linda Brooke

Service | Texas Foster Care Monitoring - 11/21/2019 - Project 0.50 $425.00 $212.50
Management & Planning / Deborah Fowler :

Service Texas Foster Care Monitoring - 11/22/2019 - Project 6.00 $325.00 $1,950.00
' Management & Planning / Viveca Martinez : :

Service ' Texas Foster Care Monitoring - 11/22/2019 - Project 8.50 | $325.00 $2,762.50
' Management & Planning / Nancy Arrigona :

Service Texas Foster Care Monitoring - 11/22/2019 - Project ; 9.25 | $395.00 $3,653.75
_ Management & Planning / Linda Brooke

Service _ Texas Foster Care Monitoring - 11/22/2018 - Communication 0.50 | $425.00 $212.50
or Meeting with the Court, a Party, Monitor/Monitors’ Staft / i :
Deborah Fowler

Service _ Texas Foster Care Monitoring - 11/23/2019 - Project 2.50 $325.00 $812.50
Management & Planning / Nancy Arrigona : :

Service Texas Foster Care Monitoring - 11/23/2018 - Project 2.00 | $325.00 $650.00
| Management & Planning / Viveca Martinez :
Service _ Texas Foster Care Monitoring - 11/24/2019 - Project : 1.50 $325.00 — $487.50
_ Management & Planning / Nancy Arrigona :
Service _ Texas Foster Care Monitoring ~ 11/25/2019 - Report and 2.83 | $325.00 $919.75
Document Preparation / Clarice Rogers j
Service _ Texas Foster Care Monitoring - 11/25/2019 - Report and : 5.00 $325.00 | $1,625.00
Document Preparation / Clarice Rogers :
Service Texas Foster Care Monitoring - 11/25/2019 - Project 2.00 $325.00 | $650.00
: Management & Planning / Nancy Arrigona
Service _ Texas Foster Care Monitoring - 11/25/2019 - Project 8.00 $325.00 $2,600.00
_ Management & Planning / Viveca Martinez :
Service Texas Foster Care Monitoring - 11/26/2019 - Project 4.25 | $395.00 $1,678.75
Management & Planning / Linda Brooke : i
Service . Texas Foster Care Monitoring - 11/26/2019 - Project 8.00 $325.00 | $2,600.00
Management & Planning / Clarice Rogers :
Service Texas Foster Care Monitoring -~ 11/26/2019 - Project 2.00 $325.00 $650.00
Management & Planning / Nancy Arrigona i
Service _ Texas Foster Care Monitoring - 11/26/2019 ~ Project 8.00 $325.00 $2,600.00

Management & Planning / Viveca Martinez

Page 10 of 12

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 38 of 76

Service | Texas Foster Care Monitoring - 11/27/2019 - Project : 3.00 | $425.00 | $1,275.00
Management & Planning / Deborah Fowler : ;

Service | Texas Foster Care Monitoring - 11/27/2018 - Project 3.50 $325.00 | $1,137.50

Management & Planning / Nancy Arrigona

Service Texas Foster Care Monitoring - 11/27/2019 - Project 4.00 $325.00 $1,300.00
- Management & Planning / Viveca Martinez : :

Service Texas Foster Care Monitoring - 11/28/2018 - Project 1.50 : $395.00 | $592.50
: Management & Planning / Linda Brooke : : :

Service Texas Foster Care Monitoring - 11/29/2019 - Project : 4.00 | $425.00 $425.00
Management & Planning / Deborah Fowler : :

Service _ Texas Foster Care Monitoring - 11/29/2019 - Document : 1.00; $425.00 | $425.00
Review/Data Analysis/Verification Work / Deborah Fowler : :

Service | Texas Foster Care Monitoring - 11/29/2019 - Project 2.00 $325.00 $650.00
» Management & Planning / Nancy Arrigona : : :

Service Texas Foster Care Monitoring - 11/80/2019 - Document : 2.00 : $425.00 | $850.00
: Review/Data Analysis/Verification Work / Deborah Fowler : :

Service : Texas Foster Care Monitoring - 11/30/2019 - Project : 0.50 $425.00 $212.50
Management & Planning / Deborah Fowler

Service : Texas Foster Care Monitoring - 11/80/2019 - Project 7.00 - $325.00 $2,275.00
Management & Planning / Clarice Rogers : :

Service ' Texas Foster Care Monitoring - 11/30/2019 - Project 4.50 $325.00 $1,462.50
Management & Planning / Nancy Arrigona : i

Product Texas Foster Care Monitoring - 11/01/2019 - Lodging / Clarice 4.00 | $210.45 — $210.45
Rogers : :

Product - Texas Foster Care Monitoring - 11/02/2019 - Lodging / Clarice - 1.00; $257.03 = $257.03
Rogers : : :

Product Texas Foster Care Monitoring - 11/02/2019 - Mileage / Linda 88.00 - $0.58 $51.04

Brooke

Product Texas Foster Care Monitoring - 11/02/2019 - Transportation / 1.00 $35.52: $35.52
| Clarice Rogers : :

Product - Texas Foster Care Monitoring - 11/03/2019 - Transportation / 1.00 $30.00 - $30.00
’ Deborah Fowler i :

Product "Texas Foster Care Monitoring - 11/03/2019 - Lodging / 1.00 | $320.33 $320.33
' Deborah Fowler : :

Page 11 of 12
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 39 of 76

Product Texas Foster Care Monitoring - 11/03/2019 - Mileage / Linda 190.00 $0.58 $110.20
. Brooke
Product _ Texas Foster Care Monitoring - 11/03/2019 - Meals / Clarice 1.00 $9.74 $9.74
Rogers
Product | Texas Foster Care Monitoring ~ 11/04/2019 - Transportation / 4.00 $8.37 $8.37
Nancy Arrigona
Product Texas Foster Care Monitoring - 11/04/2019 - Lodging / Nancy 1.00 $174.10 $174.10
Arrigona
Product _ Texas Foster Care Monitoring - 11/04/2019 - Lodging / Viveca 1.00 $210.36 $210.36
_ Martinez
Product _ Texas Foster Care Monitoring - 11/04/2019 - Meals / Linda 1.00 $21.27 $21.27
Brooke
Product Texas Foster Care Monitoring - 11/04/2019 - Lodging / Linda 1.00 $208.74 $208,74
| Brooke
Product _ Texas Foster Care Monitoring - 11/04/2019 - Lodging / Clarice 1.00 $208.74 $208.74
_ Rogers
Product _ Texas Foster Care Monitoring - 11/04/2019 - Meals / Clarice 1.00 $8.91 $8.91
_ Rogers
Product Texas Foster Care Monitoring - 11/05/2019 - Meals / Nancy 1.00 $16.67 $16.67
Arrigona
Product Texas Foster Care Monitoring - 11/05/2019 - Transportation / 1.00 $254.00 $254.00
| Deborah Fowler
Product Texas Foster Care Monitoring - 11/05/2019 - Transportation / 1.00 $35.00 $35.00
Clarice Rogers
Product _ Texas Foster Care Monitoring - 11/05/2019 - Meals / Clarice 1.00 $10.29 $10.29
» Rogers
Product Texas Foster Care Monitoring - 11/18/2019 ~ Transportation / 1.00 $18.00 $18.00
Linda Brooke
Amount Due $214,776.01
Notes

All documents reviewed inciude data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publiciy-available data and information; communications with the parties; and internal work product for the Court.

Page 12 of 12

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 40 of 76

Expense Report for Invoice
#4

11/01/2019 $210.45
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Lodging

Person Clarice Rogers

3.9 mat . Catalin inn Nahas Mimic, £3 ere
1-8, BOYS - Faidieid Inn ~ Dallas - Glarvice mogers
g

Page 1 of 36

Texas Appleseed

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD

Page 41 of 76

Corina Goin 2c polar tec pple mertnet

Reservation Confirmation #87925409 for Fairfield inn & Suites Dailas Downtown

Fairfiowd im

Repey- Te
Teyana emaplemed net

SUMUAYOR CHARGES | CONTACTS

id laa & Su

Thank you for booking directly with us, Clarice Rogers.
You're ready to go.

Fri, Nov 01, 2019 — Sun, Nov 03, 2019
Confirmation Number: 87925409 &

Check-in: Friday, November 1, 2019 03:00 PM
Check-Out Sunday, November 3, 2019 12:00 PM
Number of rooms 1 Room
Guests per room 4 Adult
Guarantee Method Credit Card Guarantee. Visa
Total fer Stay {all rooms) 210.45 USD

Rocm 1
Reom Type > Guest room. 1 King

Guaranteed Requests:

Fairfield

BY MAMRIOTT

inspired by calm.

Discover amenities and spaces designed ty koap
You haaithy and productve whio on the rood,
Exjoy warmth, comfort, and simplicity For:
Fairkoid.

MARRIOTT
BONV2Y
My Account

Page 2 of 36

Too, Oci 23,2919 at 245 Pat
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD

Clarice Rogers

View Account

Your Stay: 2 Nighis

CCOUNL Paints Staus

Enjoy these Member benefits” during your slay. Lear Miaco >

+ Frae Standard Inoom Wl-Fl

_ Mobile Check-In + Room Ready Alerts ~ fing out the instant your
room Is ready

brand andatott

Summary Of Charges

Friday, November 1, 2019 — Saturday, November 2, 2019

4 Night at 89.00 USD per night per room

AKA (21a, AAA merntersten card equa

Saturday, November 2, 2079 — Sunday, November 3. 2019

1 Night at 94.00 USD per night per rcom

SAA ras. AAA nstdarion card

Taxes & Fees (per night per room}

Estimated Government Taxes & Fees 43.72 USD
Totals
Total for Stay {alt rooms) 210.45 USD

Other Charges

Valet parking. fap: 30 SD daily

Rate Details & Cancellation Policy

~ You may cancel yous reservation fac ne diarye before 11:59 PM locat hotet
tina on Wetinesday, Detober 30, 2049 {2 Gay[s} before ar vias}.

Plawst pote that et nd) aceiss & foo of 142.38 USD if yo: real sancet aller os

ad I sfiera ical Of
card, corggeade o¢ waver:

kx you fale Gud 6
eabieston card, or ptsok at your

Rate Guarantee Limitation({s}
in larga ox Tees itt pirianied afer Bostiing wd ateat M2 Tht coon ance
Additional information

+ Uno fare st miltexizston spies wil teal

Enjoy instant benefits because you hooked directly with
us

Member Rates Free WF Mobile Check-In

hasm Mors >

Contact Us

Page 3 of 36

Page 42 of 76
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 43 of 76

Phone Numbers
Call 1-800-228-2800 in the US and Canada
For everywhere else. call cur Worldwide Telephone Numbers

FREQUENTLY ASKID QUESTIONS > Ff wD ee
Terms ets : Proaey Rossy : Apa Us : Fora Homt

Coney tis

om oa Reciiss or

misery Chacaay Is avarlale andar ps Z pT dips per weak.

Contamasian Athontaty

Wes ily = O8ed rom cf

Daley hae bean rade ater we sande yo

Dhol Uretscote

Yeu seyeptos ofpancianal ernuais stony tne tea, Each emal ava nehuda 3 Ink toureamactbe Plage
¥

a, YUE Mall G9. nami aisy
Boe Pea te TT,

DAOtS RAARRISTT STE RMATIONAL INC. ALL RIGHTS RESERVED.
UARRIOTT PROPRIETARY NFCRAVITION

Page 4 of 36

Case 2:11-cv-00084 Document 828

11/02/2019 $257.03
Client Texas DFPS/HHSC
Project Texas Foster Care Monitoring
Category Lodging
Person Clarice Rogers
Fairfield Dallas - Clarice Rogers (Rm2ie

Filed on 02/28/20 in TXSD_ Page 44 of 76

Page 5 of 36
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 45 of 76

Fairfield

BY MARRIOTT

Fairfield by Marriote®

555 Evergreen St, Dallas, TX 75201 P 24 4.573.6555
Fairfield. Marriott.cam

‘Room Type: KING
Number of Guests: 1

os Rate: $134.00 ‘Clerk: oe
Depart: O4Novig - Times ‘Folio Number: 81583
DATE DESCRIPTION CHARGES CREDITS
02Novi9 Room Charge 89.00
02Nov19 State Occupancy Tax 545
O2Nov19 City Tax 6.35,
O2Nov19 Convention and Tourism F 1.78
03Nov19 Room Charge 134.00
O3Nov19 State Occupancy Tax 8.20
03Nov19 City Tax 9.57
O3Nov19 Convention and Tourism F 2.68
04Nov19 Master Card 257.03

: 634D30 Signature on File
This card was electronically swiped on 03Nov19

© BALANCE: © 0.0085 008 oe

As a Marriott Bonvoy Member, you could have earned points towards your free dream vacation today. Start eaming points and Elite status,
plus enjoy exclusive member offers. Enroll today at the front desk.

See our “Privacy & Cookie Statement” on Mariott.com.

Operated under license from Marriott Intemational, inc. or one of its affiliates.

Take the comfort of the Fairfield sleep experience home. Visit Fairfield’s official retail store FairfieldStore.com.

Page 6 of 36

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 46 of 76

11/02/2019 $51.04

Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring
Category Mileage

Person Linda Brooke

11/02/2019 $35.52
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category ‘Transportation

Person Clarice Rogers

Nav 2,

11/03/2019 $30.00
Client Texas DFPS/HHSC
Project Texas Foster Care Monitoring

Category ‘Transportation
Person Deborah Fowler

Page 7 of 36
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 47 of 76

Corina Golea <cgolea@texasappleseed.net>

. Texas

aSreteine

Fwd: Receipt from Kahsay Taxi

1 message

Deborah Fowler <dfowler@texasappleseed.net> Sun, Nov 3, 2019 at 6:07 PM
To: Corina Golea <cgolea@texasappleseed.net>

Cab from airport in Dalias
Sent from my iPhone

Begin forwarded message:

From: Kahsay Taxi via Square <receipts@m essaging.squareup.com>

Date: November 3, 2019 at 6:04:07 PM CST

To: dfowler@texasappleseed.net

Subject: Receipt from Kahsay Taxi

Reply-To: Kahsay Taxi via Square <CAESOh lAGixyX2 ImemdpNmx3awZ1eG
11dHpsanpnexQyeml6aWZvdHNgaXxYyd3k1c25peSIIZGIhbG9ndWUiIFOmMCS
AN hSKxQyFXdBKVS41SxTCDYBQD MirgN6Habkk9 @reply2.squareup.com>

”
“A fe
&

Square automatically sends receipts to the email address you used
seller. Learn more

at any Square

nl tl ttn ian atl cn, fh

*30.00

Custom Amount $25.00

Page 8 of 36

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD

Purchase Subtotal $25.00
Tip $5.00
Total $30.00

4 ee oe

Le

Kahsay Taxi
6307 Melody Ln, 2820
DALLAS, TX 75231

Nov 3 2019 at 6:04 PM
#dyvA
DEBORAH FOWLER Auth code: 08657G

© 2018 Square, Inc.

1455 Market Street, Suite 600
San Francisco, CA $4103

@ Mapbox © OpenStreetMap Improve this map

Square Privacy Policy - Not your receipt?
Manage preferences for digital receipts

Page 9 of 36

Page 48 of 76
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 49 of 76

11/03/2019 $320.33
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Lodging

Person Deborah Fowler

Nov 3-5, 201 - AC Hotels, Dallas - Deborah Fowler (Rm
808) $320.3

OPS: oles &

Page 10 of 36

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 50 of 76

i AC HOTELS BY MARRIOTT”
oC DALLAS DOWNTOWN
yaN : 1712 COMMERCE ST
Pleneoeesy ih, DALLAS, TX 75201
Oise |) 1: 2142900111

D. FOWLER ROOM: 806
ROOM TYPE: KING
NUMBER OF GUESTS: 1
RATE: $185.00 CLERK:

ARRIVE: 03NOV 19 TIME: 06:08PM
DEPART: 0SNOV19 TIME:
FOLIO NUMBER: 53385

DATE DESCRIPTION CHARGES CREDITS
O3Nov19 Room Charge 91.00

O3Nov19 City Tax 650

O03Nov19 State Hotel Tax 557

O3Nov19 Tpid 182

O3Nov19 State Cost Receovery Fee 073

O04Nov18 Room Charge 185.00

O4Nov19 City Tax 13.21

04Nov19 State Hotel Tax 14.32

O4Nov 1g Tpid 3.70

O4Nov19 State Cost Receovery Fee 148

O5Nov19 Visa 320.33

Card #

~ Amount: 320.33 Auth: 05878G
Signature on File

This card was electronically
swiped on O3Nov19

Balance: $.06

pee Your Marriott Bonvoy points/miles eamed on your eligible earnings will be credited to
your account. Check your Marriott Bonvoy account statement or your online statement for updated activity.

See our "Privacy & Cookie Statement’ on Marriottcom.

Operated under lsense from Marriott International, Inc. or one of its affiliates.

Page 11 of 36
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 51 of 76

11/03/2019 $110.20
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Mileage

Person Linda Brooke

Travel to Quinlin TX / Return [180.0 miles]

11/03/2019

Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring
Category Meals

Person Clarice Rogers

Nov 3, 2019 - JFKEG and Klicken - Clarice Ro
$9.74

11/04/2019 $8.37
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Transportation

Person Nancy Arrigona

Nov 4, 2019 - Lyf Nancy Arrigona $8.37

Page 12 of 36

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 52 of 76

41/7/2019 Gmail - Your ride with Bakri on November 4

Your ride with Bakri on November 4
1 message

Nancy Arrigona <narrigona@gmail.com>

Lyft Ride Receipt <no-reply@lyfimail.com> Tue, Nov 5, 2019 at 9:14 PM
To: narrigona@gmail.com

NOVEMBER 4, 2019 AT 9:10 PM

Thanks for riding with
Bakri!

100% of tips go to drivers. Add a tip

Lyft XL fare (0.83mi, 3m 41s) $8.37

VISA

$8.37

https-/mail.google.com/ mail/u/t?ik=4e77e8478{&view=pt&search=all&perm thid=thread-f%3A 164042 0609845253495&simpl=msg-f%3A 16494206098... 1/3

Page 13 of 36
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 53 of 76

19/7/2019 Gmail - Your ride with Bakri on November 4

2D Ocenieresthiss

® Pickup 9:10 PM
2039 Woodall Rodgers Fwy, Dallas, TX

® Drop-off 9:13PM
1204 Elm St, Dallas, TX

Round Up & Donate

hitps://mail.google.com/mail/u/1?7ik=4. e77 e847 8faview=pt&search=all&pemn thid=thread-f%3A1649420609845253495&simpl=m so-f%3A16484206098... 2/3

Page 14 of 36

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 54 of 76

Gmail - Your ride with Bakri on November 4

By rounding up their payments, our riders have
donated over $15 million to causes they believe in.

11/7/2019

SUPPORT YOUR CAUSE

TIP DRIVER

FIND LOST ITEM

REQUEST REVIEW

Review price in the Lyft app help tab

rely Center
Receipt #1334098034696285542

We never share your address with your driver after a ride.
Learn more about our commitmentto safety.

© Maphox @ OnenStesitMan Improve this map

© 2019 Lyft, Inc.
548 Market St., P.O. Box 68514
San Francisco, CA 94104
CPUC ID No. TCP0032513 - P

Work at Lyft
Become a Driver

https:/mail. google.com/mail/u/1? ik=4e7 7 e847 8f&view=pt&search=allapem thid=thread-f%3A1649420609845253495&simpl=msg-f%3A 16494206098... 3/3

Page 15 of 36
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 55 of 76

11/04/2019 $174.10
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Lodging

Person Nancy Arrigona

Nov 4, 2019 - Westin Hotels (Rm 2527) - Nancy Arvigona
$174.18

Page 16 of 36

Case 2:11-cv-00084

Westin Dallas Downtown

1207 Main Street

Dallas, TX 75202

United States

Tel: 972-584-6650 Fax: 972-584-6675

NANCY ARRIGONA

Document 828 Filed on 02/28/20 in TXSD Page 56 of 76

WESTIN

Westin Dallas DALDW NOV-05-2019 12:20 CTORC364

04-NOV19 RT2527 Room Chrg - Govt Military
04-NOV-19 RT2527 Occupancy Tax
04-NOV-19 RT2527 City/Local Tax

04-NOWI9 RT2527 TPID Fee

04-NOV-19 RT2527 SCR Fee *

05-NOV-19 Vi Visa-4945

Approve EMV Receipt for VI - 4945: no CVM
TC:8AC66D718911 D6EDF GoB0008000

Application Label

** Total
*« Balance

| agreed to pay all room & incidental charges.

Tel! us about your stay. www.westin.com/reviews

* Represents 0.7% of Room Revenue plus applicable taxes

HOTELS & RESORTS
Page Number 1
Guest Number 278396
Folio iD : A
Arrive Date i 04-NOV-19 17:09
Depart Date : 0S-NOV-19 42:10
No, Of Guest I 1
Room Number

Marriott Bonvoy Number:

150.00
9.18
10.74
3.00
1.21

174.10
0.00

Continued on the next page

Page 17 of 36

-174.10

-174.10
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 57 of 76

Westin Dallas Downtown
1201 Main Street 3
Dallas, TX 75202

United States
Tel: 972-584-6650 Fax: 972-584-6675 HOTELS & RESORTS
NANCY ARRIGONA Page Number : 2
Guest Number : 278396
Folio ID : A
Arrive Date : 04-NOV-19 47:09
Depart Date : 05-NOV-19 12:16
No. Of Guest : 1
Room Number 3 2527

Mariott Bonvoy Number: gam

EXPENSE SUMMARY REPORT

Currency: USD

11-04-2019 0.00

0.00 0.00 174.10 174.10 0.00
11-05-2019 0.00 0.00 0.00 0.00 0.00 -174.10
Total 0.00 0.00 0.00 174.10 174.10 ~174.10

* Represents 0.7% of Room Revenue plus applicable taxes

Bring the Westin experience home. Shop WestinStore.com.

Page 18 of 36

Case 2:11-cv-00084 Document 828

11/04/2019 $210.36
Texas DFPS/HHSC
Texas Foster Care Monitoring
Lodging
Viveca Martinez

Client
Project
Category
Person

Nov 4, 2019

Westin Hovels ~

Dallas - Viveca Martinez

freA a7 SN Coq we
(Am2375) $230.38

soe i

Filed on 02/28/20 in TXSD_ Page 58 of 76

Page 19 of 36
Case 2:11-cv-00084

Westin Dallas Downtown

1201 Main Street
Dailas, TX 75202

United States

Tel: 972-584-6650 Fax: 972-584-6675

Viveca Martinez

Page Number

Guest Number

Folio ID

Artive Date

Depart Date

No. Of Guest

Room Number

Marriott Bonvoy Number :

Document 828 Filed on 02/28/20 in TXSD Page 59 of 76

WESTIN’

HOTELS & RESORTS

1
278429 .
A x
04-NOV-19 11:18
05-NOV-19 07:28
1
2315

ce enn

em

04-NOV-19
04-NOV-19
04-NOV-19
04-NOV-19
04-NOV-19
04-NOV-19
04-NOV-19
05-NOV-19
05-NOV-19
05-NOV-19

RT2315
RT2315
RT2315
RT2315
RT2315
RT2315
RT2315
009A
009A

VI

Room Chrg - Govt /Military
Occupancy Tax

City/Local Tax

TPID Fee

SCR Fee*

Parking Valet - Overnight
State Tax

972-584-6650 0:02
Telephone Tax State
Visa-0815

Approve EMV Receipt for VI - 0815: no CVM
TC:9D1E1679C33A797C TVR:8080008000
Application Labelg ESS

™ Total
== Balance

tagreed to pay all room & incidental charges.

Tiapetants Pousti Reon Resin pile viegiicable taxes

AAR,

Continued on the next page

Page 20 of 36

150.00
9.18
10.74
3.00
1.27
32.00
2.64
450
0.12
~210.36

210.36 ~210.36
0.00

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 60 of 76

Westin Dallas Downtown 4
1201 Main Street
Dallas, TX 75202

United States
Tel: 972-584-6850 Fax: 972-584-6675 HOTELS & RESORTS
Viveca Martinez Page Number : 2
eee : Guest Number : 278429
Folio 1D : A
Artive Date : 04-NOV-19 11:18
Depart Date : 05-NOV-19 07:28
No. Of Guest : 1
Room Number : 2315
gee Mariott Bonvoy Number:  @iggggeaazag

EXPENSE SUMMARY REPORT
Currency: USD

11-04-2019 0.00 0.00 6.00 208.74 208,74 0.00
11-05-2019 0.00 0.00 0.00 1.62 1.62 -210.36
Total 0.00 0.00 0.00 210.36 210.36 ~210.36

* Represents 0.7% of Room Revenue plus applicable taxes

Bring the Westin experience home. Shop WestinStore.com.

Page 21 of 36
OEE SR ee me pape = mggyi meee :

POWER HUUSE DEL!
214-871-7126

12:56 11-04-2019
MC NO.0000 8430
DEPTHOO1 —6©$2.5011
DEPT#HOO1 6 $6. 49T1
DEPT #O01 $6. 49T i
DEPTHOI3 $1.50

— DEPT#HOO! . $1.39T1

age 22 of 36

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 63 of 76

11/04/2019 $208.74
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Lodging

Person Linda Brooke

Nov 4, 2019 - Westin Hotels - Dallas - Linda Brooke
(Rm25719} $208.74

a
%

Page 24 of 36

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 64 of 76

Westin Dallas Downtown

4201 Main Street
Dallas, TX 75202

United States

Tel: 972-584-6650 Fax: 972-584-6675

LINDA BROOKE

04-NOV-19
04-NOV-19
04-NOV-19
04-NOV-19
04-NOV-19
04-NOV-19
04-NOV-19
05-NOV-T9

| agreed to pay all room & incidental charges.

WESTIN

HOTELS & RESORTS

Page Number : 1

Guest Number : 278431

Folio ID : A

Arrive Date : 04-NOV-19 11:20
Depan Date : 05-NOV-19 07:30
No. Of Guest : 1

Room Number : 2519

Marriott Bonvoy Number : aes

Westin Dallas DALDW NOV-05-2019 07:40 LJCOO680

Room Chrg - Govt /Military 150.00

RT2519
RT2519 Occupancy Tax 9.18
RT2519 City/Local Tax 40.71
RT2519 TPID Fee 3.00
RT2519 SCR Fee* 1.21
RT2519 Parking Valet - Overnight 32.00
RT2519 State Tax 2.64
vi Visa-0807 -208.74
Approve EMV Receipt for V1 - 0807: no CVM
TC:D525EAG2ZBC368EEE TVR:8080008000
*= Total 208.74 ~208.74

«= Balance 9.00

Tell us about your stay. www.westin.com/reviews

* Represents 0.7% of Room Revenue plus applicable taxes

Continued on the next page

Page 25 of 36
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 65 of 76

Westin Dallas Downtown

1201 Main Street 8
Dallas, TX 75202

United States
Tel: 972-584-6650 Fax: 972-584-6675 HOTELS & RESORTS
LINDA BROOKE Page Number : 2
Guest Number : 278431
Folio ID i A
Arrive Date : 04-NOV-19 11:20
Depart Date : 0S-NOV-19 07:30
No. Of Guest : 1
Room Number : 2519
Mariott Bonvoy Number: gga
EXPENSE SUMMARY REPORT

Currency: USD

11-04-2019 G.00 0.00 0.00 208.74 — 208.74 0.60
11-05-2019 0.00 9,00 0.00 0.00 0.00 -208.74
Total 0.00 0.00 0.00 208.74 208.74 ~208.74

= Represents 0.7% of Room Revenue plus applicable taxes

Bring the Westin experience home. Shop WestinStore.com,

Page 26 of 36

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 66 of 76

11/04/2019 $208.74
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Lodging

Person Clarice Rogers

Page 27 of 36
Case 2:11-cv-00084 Document 828

Westin Dallas Downtown

1201 Main Street
Dallas, TX 75202

United States

Tel: 972-584-6650 Fax: 972-584-6675

LINDA BROOKE

04-NOV-18
04-NOV-19
04-NOV-19
04-NOV-T9
04-NOV-19
05-NOV-19
05-NOV-19
05-NOV-19
05-NOV-19

Filed on 02/28/20 in TXSD_ Page 67 of 76

WESTIN

HOTELS & RESORTS
Page Number : 1
Guest Number 278432
Folio ID A
Artive Date : 04-NOV-19 T1219
Depart Date : 05-NOV-19 07:23
No. Of Guest : 1
Room Number z 2615

Mariott Bonvoy Number: aaa

RT2615
RT2615
RT2615
RT2615
RT2615
vi
PRKV
PRKV
Vi

Room Chrg - Govt./Military
Occupancy Tax

City/Local Tax

TPID Fee

SCR Fee *

Visa-0807

Parking Valet - Ovemight
State Tax

Visa-0807

Approve EMV Receipt for Vi - 0807: no CVM
TCSE006201241AB7AA TVR:8080008000

Application Label @gagyaanea

= Total
“= Balance

| agreed to pay all room & incidental charges.

Tell us about your stay. www.westin.com/reviews

* Represents 0.7% of Room Revenue plus applicable taxes

150.00
9.18
10.71
3.00
121

32.00
2.64

208.74
0.00

2 gp fONS
An did s » a reer .

Continued on the next page

Page 28 of 36

-174,10

-34.64

~208.74
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 68 of 76

Westin Dallas Downtown 5
4201 Main Street
Dallas, TX 75202

United States
Tel: 972-584-6650 Fax: 972-584-6675 HOTELS & RESORTS
LINDA BROOKE Page Number Z 2
Guest Number : 278432
Folio 1D : A
Arrive Date : 04-NOV-19 11:19
Depart Date : 05-NOV-19 97:29
No. Of Guest : 1
Room Number : 2615
Marriot Bonvoy Number: <0
EXPENSE SUMMARY REPORT

Currency: USD

11-04-2019 9.00 0.00 0.00 174.10 174.10 9.00
11-05-2019 0.00 0.00 0.00 34.64 34.64 -208.74
Total 0.00 0.00 0,00 208.74 208.74 -208.74

* Represents 0.7% of Room Revenue plus applicable taxes

Bring the Westin experience home. Shop WestinStore.com.

Page 29 of 36
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 69 of 76

11/04/2019 $8.91
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Meals

Person Clarice Rogers

11/05/2019 $16.67
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Meals

Person Nancy Arrigona

Nov 5, 2019 - Buc-EEs - Nancy Arrigona $18.67

Page 30 of 36

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 70 of 76

4355 North G Gr (1-35)

“ORDER #774
“CRN Fad TACO $2.99

4 ADD CHSE TACOS$0.55
t+ GUACAKULESO 68

ASTER TRAN

LY TRL STHHST #499
BYE SOUR GUMKE BRS $2.93
TOPO CHICO MIN BTR 2002 $1.99

“MUNCHIES CHSE FX XXVL $1.89
Sua Tota $16 0s

Tax $055
Total $16.67
Visa: $16.67
narige $0.0

nt

NoO0gGOS 1040

HoOoGEOoN

su: 602 120360A002
ST: EBOO

ARDC:
TC: #1S032650h407469

79)~238-6390
33 Cashier: Dakota, F
V/S/20is 14:51:41] TRAN: 13002

Page 31 of 36
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 71 of 76

11/05/2019 $254.00
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Transportation

Person Deborah Fowler

Nov 5, 2019 - Southwest Dallas - Deborah

Page 32 of 36

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD

Fwd: Deborah Jaa Fitegaraid Fowlar’s 14/65 Austin trip {(PHKUDZ): Your reservation is confirmed.
Teraage

Deborah Fowur cdSanferis esseapeteeedast>

Te: Comma Gama cogisa Gyms mere nee

Fe ck rem Defias wttich ctastd ssttor hie November inesicn,

Oesexan Fonte:
Exorutive Direc!
Amal

e+ Ferxersbst menage —-—s
Ail

Fre
Oste: Tua Oc) 23.2079 a4 OPAL
Subject O2tnnst Jaa Pézgaedd Fasiers 11.95 Austin re (PRRUDZp Yow reoarveins & sanfimned
Ju dowisrBt enna: sda

Flight Siadus | My Accom:

Southwest y

Your itinerary

. GePARtS ARRNEDS
BEMT DAL 07:28 AUS 08:25"

Bula: List

Payment information

Cowcaaar c21 Sp

wel acuang He Scokriest Moats Aug. Use your (2o0de
dence snd restive ame gy CAS,

7
WO ptinbtes befece your degactuese

Acco al tine gate prrneved to uaardl
Wninkes
Trsis be last

peegecit Thre ones arte send

swe Laidley stant! P

ou do tan f bavd on
Wociu atiasst X} minutes nace t
you dar'tnotlyus, yoia

your 18
your fight:
‘eanject bo ot

renege.

See mora trave! Ups

Rieger

Bet ecaa et GUPS Ole pia ge
ei ake a

Earn up to 10,000 Rapid
Rewards= paints per night

Gnomes at AER,

Page 33 of 36

Page 72 of 76

Corina Geiea *2ystenGtex sapien tedant>

Tse. O55 29,2019 at 4:03 PRS
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 73 of 76

Book hota> Prepon: toe >
saeeugaa Tee foe SSM one CAE ST Eads
keene
Cand om cas OE Hoes lt 91

ae

renee
Nad weet, Feats
¥ Taro

peas

oe
A2eecra tn
xhenon S tam an
Ue ecAncamiNe 130 dwg we
Neod help? Conned wih us ee
Corea os e600e 4
Cuntimer tena Fy

Sal no menie aap

Shite apeoncrl aud tegen eases 46 bese, Ponte CaN GoeeKe EMR AT De Meare Vaithtiea Lule pene
Pleas nase ae pteay 3h

Des Sadan hifors Guts we lmcsarecler
he ats ecto:

rlaarerin awa achrsbien.gn Y6o Cetacer IH Za Ms Semcat oa

Page 34 of 36

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 74 of 76

11/05/2019 $25.00
Client Texas DEPS/HHSC
Project Texas Foster Care Monitoring

Category Transportation
Person Clarice Rogers

11/05/2019 $10.29
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Meals

Person Clarice Rogers

Qe

Nov 8, 205 Sei

«Cy

‘s - Clarice F

11/18/2019 $18.00
Client Texas DFPS/HHSC

Project Texas Foster Care Monitoring

Category Transportation

Person Linda Brooke

Terminal#:1 Cashier#: 7

"Page 35 of 36
Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 75 of 76

11/18/2019 12:22 PM

11/18/2019 2:46 PM - 02:24

94887840 / #561829

Rate { : § 18.00
18.00
Credit : § 18.00

RK KKE KICK KK KOO

VISA 7s

Seq# 142964 06800063

Purchase 19/11/18 14:41:56

Auth# 035566

—
tn an
ax.
on
me eam Le Ok eye OE a ge a em eee et ne ete ee, ge ee OE ER ke LES NS

—
_
_
_—

—~
_
— —_— a a
ae —_ ee ee eee
te ate ee ee
cen ett anes AN km te

Page 36 of 36

Case 2:11-cv-00084 Document 828 Filed on 02/28/20 in TXSD Page 76 of 76
